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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT

JOSEPH VELLALI et al.,

        Plaintiffs,                              Civil Action No. 3:16-cv-01345-AWT
 v.
                                                 Hon. Alvin W. Thompson
YALE UNIVERSITY et al.,

        Defendants.

DECLARATION OF RICHARD E. NOWAK IN SUPPORT OF DEFENDANTS'
        EMERGENCY MOTION FOR PROTECTIVE ORDER

      I, Richard E. Nowak, declare as follows:

       1.     I am a partner with the law firm of Mayer Brown LLP, and I represent

Defendants Yale University, Michael A. Peel, and the Fiduciary Committee on

Investments in this action. I submit this declaration in support of Defendants'

Emergency Motion for Protective Order.

      2.      I have personal knowledge of all facts stated in this declaration and, if

called to testify, I could and would testify competently hereto.

      3.      On January 10, 2019, Plaintiffs requested by e-mail the deposition

availability for 11 current and former Yale employees and officers, including

President Peter Salovey. Attached hereto as Exhibit A is a true and correct copy of

the January 10, 2019 e-mail from Joel Rohlf to Nancy Ross, et al.

      4.      On January 18, 2019, Defendants sent Plaintiffs a proposed schedule for

the depositions of each of the individuals identified by Plaintiffs except President

Salovey. In the e-mail, Defendants proposed revisiting the question of President

Salovey's deposition until after Plaintiffs had deposed the other witnesses in the case.


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Attached hereto as Exhibit B is a true and correct copy of the January 18, 2019 e-

mail from Brian Netter to Joel Rohlf.

          5.   On January 28, 2019, Plaintiffs served a Notice of Deposition for Peter

Salovey, setting the deposition on March 8, 2019. Attached hereto as Exhibit C is a

true and correct copy of the Notice of Deposition.

          6.   On January 29, 2019, Defendants responded to the Notice of Deposition

and stated "we will not and cannot agree to present [President Salovey] for his

deposition as requested in the Notice you have sent," but we would be "happy to

explore the matter after all other depositions have been taken." Attached hereto as

Exhibit Dis a true and correct copy of the January 29, 2019 e-mail from Nancy Ross

to Joel Rohlf.

          7.   On February 1, 2019, the parties filed a Joint Status Report on

Discovery (Dkt. 153) stating that "[t]he parties are still considering their respective

positions" on President Salovey's deposition "and have not met and conferred on the

issue."

          8.   Plaintiffs did not raise the issue of President Salovey's deposition again

until more than three weeks later on February 26, 2019.

          9.   On February 25, 2019, Defendants contacted Plaintiffs to confirm a list

of scheduled deposition times and locations. Attached hereto as Exhibit E is a true

and correct copy of the February 25, 2019 e-mail from Richard Nowak to Alex

Braitberg, et al.




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      10.    On February 26, 2019, Plaintiffs responded and served an Amended

Notice of Deposition for Peter Salovey, setting the deposition nine days later on

March 7, 2019. Attached hereto as Exhibit Fis a true and correct copy of the Feb1·uary

26, 2019 e-mail from Alex Braitberg to Richard Nowak, et al. Attached hereto as

Exhibit G is a true and correct copy of the Amended Notice of Deposition.

      11.    On February 27, 2019, Defendants informed Plaintiffs that they could

not produce President Salovey on March 7, and asked to meet and confer regarding

the appropriateness of President Salovey's deposition. Attached hereto as Exhibit H

is a true and correct copy of the February 27, 2019 e-mail from Richard Nowak to

Alex Braitberg, et al.

      12.    On February 27, 2019, I, Richard Nowak, (on behalf of Defendants) and

Alex Braitberg (on behalf of Plaintiffs) met and conferred regarding President

Salovey's deposition by telephone.

      13.    During the meet and confer, I explained Defendants' position that

President Salovey is an apex witness and that Plaintiffs had not identified any unique

knowledge within his possession-particularly given Plaintiffs' refusal to wait until

the other Committee members were deposed to evaluate the necessity for President

Salovey's deposition. I also explained that only the Committee's actions-not its

individual member's subjective opinions-are potentially at issue in the litigation.

Plaintiffs' counsel insisted that only President Salovey could testify about his own

subjective knowledge and his experience on the Committee. Plaintiffs' counsel also




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insisted that Plaintiffs believe they are entitled to President Salovey's deposition

regardless of the other Committee members' and witnesses' testimony in this matter.

      14.    The parties were unable to resolve this issue, and this Court's

emergency intervention is required.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed this 28th day of February, 2019, in Chicago, Illinois.




                                              Richard E. Nowak




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